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         M.                                          !
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         sxuxu ELIZABETH                             l
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                                         STATEM EN T OF FA CTS

               ThisStatem entofFactsbdefly summ arizesthefactsand circum stancessurroundingthe
        defendant'scrim inalconduct. Itdoesnotnecessadly contain a11theinformation obtained during
        thisinvestigation and applicableto an accuratePresentenceReportand Sentencing Guidelines
        calculation.'Fheoffensets)describedbelow occurredwithintheW estem DistrictofVirginia.
                ThisStatem entofFactsisnotprotected by profferagreem entorany otherap eement,
        and shallbewholly adm issibleattrialnotwithstanding anyRulesorstamtesto the contrary,
        including butnotlim ited to,FederalRulesofEvidence408 and 410,and FederalRuleof
        CriminalProcedure11!intheeventthatthedefendantisultimateljchargedwithanddoesnot
        pleadguiltyincormectlonwiththeoffensets)outlinedbelow andldentifiedintheplea
        agreem ent.

               Ifthism atterwereto proceed to trial,theUnited StatesofAm ericawouldprove,by.
        relevantand admissibleevidence,beyond areasonabledoubtthefollowing:

               From in ouraboutApdl2017 to in oraboutJanuary 2019 thedefendantconspiredwith

        otherpersonstodistributecocaine,cocainebase(alsoknownascrack cocaine),andother
        controlledsubstancesin and arotmd W inchester,Virginia.rrhe defendantroutinely provided on

        consignment(alsoknownasRgontinf')drugstootherindividualsforsubsequentdisttibution.
        2.     W ith respectto thisdefendant,thenm ountinvolved in theconspiracy attributabletpher

        as a resultofherown conduct,and the conductofotherconspiratorsreasonably foreseeableto

       her,ismorethan 28 gram sofamixtureorsubstancecontaining adetectableam ountofcocaine

       base.




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         3.     On April17,2018,oo cersexecuted asearch warrantatthedefendant'sresidence,

         located on Bellview Avenu'e,W inchester,Virginia.Oo cersrecovered,nm ong otheritem s,the

         following itemsofinterest:

               A.     D igitalscales;

               B.     A box ofplasticbaggies;

                C.    M ultiplebagscontaining suspected cocaineand crack cocaine;

                D.    Approxim ately $4,012,
                                           .
                E.     One .380 m agazinewith am munition and one9mm round.

                Laboratory analysisofthesuspected controlled substancesfotmd atthedefendant's

         residencedeterminedthat:onebagtestedpositivefor16.22rnmsofcocainebase;onebag(that
         containedtwosmallerbags)testedpositivefor16.21gramsofcocaineandcocainebase;onebag
         tested positivefor4.26 gram soffentanyl;onebag testedpositivefor9.41grnm soffentanyl;one

         bagtestedpositivefor0.40 F am sofheroin;and onebagtested positivefor14.12 p nm sof

         cocaine.

                On January 17,2019,oo cers,with the assistance ofacooperating individual,ptlrchased

         aconkolled substancefrom Sarah Johnson in exchangefor$175.rfhe cooperating individual

         paid Jolmson an additional$45towardsadebtaccrued dudng apreviousdnzg purchase.
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                Ihave review ed the above Statem entofFactsw ith m y attorney and I agree thatitis
         true and accurate. I further agree thatthe above facts are sufficientto convictm e ofthe
         offensets)toWhich Iam pleadingguilty.                                              '




           t)'q(.
           Date
                xo                                      arah Elizabeth Jolmson
                                                       Defendant


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           D ate
                   o                                   AndreaHarris
                                                       Attorney forDefendant
